Case 1:19-md-02875-RMB-SAK              Document 811        Filed 01/28/21       Page 1 of 5 PageID:
                                             20336



                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                            MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                               HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES



                  NOTICE TO TAKE VIDEOTAPED ORAL DEPOSITION


 TO:    Lori G. Cohen, Esq,
        GREENBERG TRAURIG, LLP
        Terminus 200, 3333 Piedmont Road NE, Suite 2500
        Atlanta, GA 30305
        Attorneys for Defendants Teva Pharmaceuticals USA, Inc., Teva Pharmaceutical
        Industries, Ltd., Actavis, LLC, Arrow Pharm Malta Ltd., and Actavis Pharma (hereinafter
        “Defendants”).


        Please take notice that pursuant to Federal Rule of Civil Procedure 30, and other applicable

 Rules, including the Local Civil Rules, and the applicable Orders of the Court, Plaintiffs, by and

 through their counsel, will take the videotaped deposition of Michelle Osmian, on February 11,

 2021, at 9:00 a.m. eastern time, and continuing until completion, via remote deposition while the

 witness is at her home or office or other location agreed to by the parties, in accordance with the

 Fact Witness Deposition Protocol, Case Management Order #20, filed November 17, 2020

 (Document 632). The deposition shall first address the Federal Rule of Civil Procedure 30(b)(6)

 topics listed on Exhibit A attached, followed by deposition of the witness in his individual capacity.

 The witness shall produce the documents requested at Exhibit B, attached hereto, at least 5 days

 in advance of the deposition.
Case 1:19-md-02875-RMB-SAK            Document 811        Filed 01/28/21      Page 2 of 5 PageID:
                                           20337



        Pursuant to the meet and confer between the parties, a translator will not be provided.

 TAKING ATTORNEYS FOR PLAINTIFFS:

 David J. Stanoch, Esq.
 Kanner & Whiteley, L.L.C.
 701 Camp St.
 New Orleans, LA 70130
 Telephone: 504-524-5777
 d.stanoch@kanner-law.com



        The videotaped deposition will be taken before a person authorized by law to administer

 oaths, pursuant to Rule 28 of the Federal Rules of Civil Procedure.

 January 28, 2021

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By:   /s/ David J. Stanoch______________
                                                     DAVID J. STANOCH
                                                     Kanner & Whiteley, L.L.C.
                                                     701 Camp St.
                                                     New Orleans, LA 70130
                                                     Telephone: 504-524-5777
Case 1:19-md-02875-RMB-SAK             Document 811        Filed 01/28/21      Page 3 of 5 PageID:
                                            20338



                                            EXHIBIT A

            RULE 30(B)(6) TOPICS (see ECF 651-1 for full list of Topics to Teva)


        44. Teva’s oral and written communications with ZHP with regard to the

 content/purity/contamination of ZHP’s valsartan API.

        45. Teva’s oral and written communications with Mylan with regard to the

 content/purity/contamination of Mylan’s valsartan API.

        46. Teva’s oral and written communications with its valsartan finished dose customers or

 other downstream entities (i.e. wholesalers, retailers, consumers, TPP’s) regarding quality, purity,

 or contamination issues, for example carcinogens, general toxic impurities (including genotoxic

 impurities) such as nitrosamines, and residual solvents, related to the Teva finished dose.

        47. Teva’s oral and written statements (defined to include representations and warranties)

 to finished dose manufacturers, wholesalers, retailers, and consumers with regard to the contents

 and purity of Teva’s finished dose.

        48. Teva’s product recall for valsartan finished dose, including who Teva communicated

 with, how, about what, and the retention of recalled or sequestered valsartan finished dose.

        49. All credits, indemnification, refunds, and/or penalties paid or provided by or to Teva

 in connection with the nitrosamine contamination of valsartan.

        51. Tracing of batches and lots of Teva’s valsartan finished dose sold downstream and

 ultimately intended for use by consumers in the United States.

        54.The quantity/units of Teva’s valsartan finished dose sold in the United States.

        55. The Teva valsartan finished dose sales and pricing data produced by you in this

 litigation (sample documents to be provided at least 30 days ahead of deposition during meet and

 confer process).
Case 1:19-md-02875-RMB-SAK         Document 811       Filed 01/28/21     Page 4 of 5 PageID:
                                        20339



                                        EXHIBIT B

                                DOCUMENT REQUESTS

   1. The most recent resume/Curriculum Vitae and LinkedIn profile for Michelle Osmian.

   2. The complete production of Michelle Osmian’s relevant custodial documents, including
      those maintained on personal computers or electronic devices, to the extent not produced
      prior.
Case 1:19-md-02875-RMB-SAK            Document 811        Filed 01/28/21     Page 5 of 5 PageID:
                                           20340



                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  IN RE: VALSARTAN,
  LOSARTAN, AND IRBESARTAN                                         MDL No. 2875
  PRODUCTS LIABILITY
  LITIGATION
                                                            HON. ROBERT B. KUGLER
  THIS DOCUMENT RELATES TO ALL
  CASES




                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 28, 2021, I caused the foregoing document to be

 electronically filed with the Clerk of the court using CM/ECF system which will send notification

 of such filing to the CM/ECF participants registered to receive service in this MDL.

                                                     PLAINTIFFS’ CO-LEAD COUNSEL

                                                     By:   /s/ David J. Stanoch______________
                                                     DAVID J. STANOCH
                                                     Kanner & Whiteley, L.L.C.
                                                     701 Camp St.
                                                     New Orleans, LA 70130
                                                     Telephone: 504-524-5777
